356 F.2d 940
    DELTA STEAMSHIP LINES, INC., Appellant,v.P. J. DONOVAN, Deputy Commissioner, Seventh CompensationDistrict, Bureau of Employees' Compensation, U.S.Department of Labor and Mrs. BerthaHall, Appellees.
    No. 22092.
    United States Court of Appeals Fifth Circuit.
    Feb. 10, 1966.
    
      William E. Wright and G. Edward Merritt, New Orleans, La., Terriberry, Rault, Carroll, Yancey &amp; Farrell, New Orleans, La., of counsel, for appellant.
      Max Zelden, New Orleans, La., Zelden &amp; Zelden, New Orleans, La., of counsel, for appellee Hall.
      Gene A. Palmisano, Frederick W. Veters, Asst. U.S. Attys., New Orleans, La., Louis C. LaCour, U.S. Atty., L. Howard McCurdy, Jr., Asst. U.S. Atty., Charles Donahue, Sol. of Labor, Alfred H. Myers, George M. Lilly, Attorneys, U.S. Department of Labor, of counsel, for appellee Donovan.
      Before GEWIN and COLEMAN, Circuit Judges, and McRAE, District Judge.
      PER CURIAM:
    
    
      1
      The appellant complains of an award by the Deputy Commissioner under the Longshoremen's and Harbor Workers' Compensation Act, 33 U.S.C. 901 et seq., which was affirmed by the United States District Court on motion for summary judgment.  Death benefits were awarded to the surviving widow of Lawrence Hale, an employee of appellant who died of a heart attack while on duty as a longshoreman aboard a vessel afloat on the Mississippi River and moored at a wharf in New Orleans.
    
    
      2
      Appellant admits that the decedent was employed aboard the ship and was at his post of duty when he died, but insists that he performed no work, that no award was authorized by the Act, and that the Deputy Commissioner's findings cannot be sustained.
    
    
      3
      While this Court may not have reached the same conclusion as the Deputy Commissioner, it cannot be said that his holding is not supported by substantial evidence upon consideration of the entire record.  O'Keeffe v. Smith Associates, 380 U.S. 359, 85 S.Ct. 1012, 13 L.Ed.2d 895 (1965); O'Keeffe v. Pan American World Airways, Inc., 5 Cir., 338 F.2d 319; Todd Shipyards Corp. v. Donovan (5 Cir. 1962) 300 F.2d 741.
    
    
      4
      The judgment is affirmed.
    
    